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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                   Case No. 17-cr-60288-BLOOM

  UNITED STATES OF AMERICA,

            Plaintiff,

  v.

  JEREMY ROBERT MACROY,

        Defendant.
  _______________________________/

                     ORDER ON MOTION FOR COMPASSIONATE RELEASE

            THIS CAUSE is before the Court upon Defendant Jeremy Robert Macroy’s Motion for

  Compassionate Release, ECF No. [102] (“Motion”). The Government filed its Response, ECF No.

  [103], to which Defendant has not filed a reply. The Court has carefully reviewed the Motion, all

  opposing and supporting submissions, any relevant exhibits, the record in this case, the applicable

  law, and is otherwise fully advised. For the reasons discussed below, the Motion is denied.

       I.       BACKGROUND

            On January 30, 2018, Defendant pleaded guilty to conspiracy to possess with intent to

  distribute 50 grams or more of a mixture and substance containing a detectable amount of

  methamphetamine, in violation of 21 U.S.C. § 846. See ECF No. [11]; Plea Agreement, ECF No.

  [33]. On July 17, 2018, Defendant was sentenced to a term of imprisonment of 80 months, followed

  by 4 years of supervised release. See ECF Nos. [88], [93]. Defendant is currently housed at

  Coleman Medium FCI, in Sumterville, Florida.

            In the Motion, Defendant requests a sentence reduction, compassionate release or home

  confinement, due to the ongoing COVID-19 health crisis, arguing that his underlying medical
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  conditions, including asthma, obesity, and untreated post-acute addiction disorder, put him at an

  increased risk of contracting the virus, and that the Bureau of Prisons (“BOP”) is not adequately

  equipped to manage the pandemic. See Mot. at 2.

         The Government opposes Defendant’s Motion, arguing that Defendant has failed to

  exhaust his administrative remedies, as he did not request compassionate release from the warden.

  The Government also contends that Defendant has not established “extraordinary and compelling”

  circumstances to justify a sentence reduction as his narcotic use disorders are not risk factors

  according to the CDC, and the existence of the COVID-19 pandemic alone is insufficient to justify

  release. In addition, the Government argues that Defendant fails to demonstrate that compassionate

  release would be warranted under the section 3553(a) factors. Finally, the Government argues that

  the Court has no authority to place Defendant in home confinement.

         SARS-CoV-2, the novel coronavirus, and COVID-19, the disease it causes, have spread

  across the world and have impacted every person’s life. The United States is currently reporting

  more confirmed cases of COVID-19 and resulting deaths than any other country, with 22,102,069

  confirmed cases and 371,084 reported deaths as of January 10, 2021. 1 The COVID-19 pandemic

  poses a serious danger to society at large. Moreover, COVID-19 poses a higher risk to incarcerated

  individuals who are unable to practice public health precautions that are otherwise available to the

  general public, such as social distancing practices.

         As a result of this dynamic, unpredictable, and unprecedented situation, Attorney General

  William Barr has urged the Bureau of Prisons (“BOP”) to move vulnerable inmates out of penal

  institutions and into home confinement, where appropriate. See Mem. from Attorney Gen. William

  Barr for Dir. of Bureau of Prisons re: Increasing Use of Home Confinement at Institutions Most


  1
   Cases of Coronavirus Disease (COVID-19) in the U.S., Centers for Disease Control and Prevention,
  https://www.cdc.gov/coronavirus/2019-ncov/cases-updates/cases-in-us.html (last updated Jan. 10, 2021).


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  Affected by COVID-19 (Apr. 3, 2020), https://www.justice.gov/file/1266661/download

  (“Memorandum”). The Memorandum identifies several facilities that have been particularly

  affected and should be given priority in the BOP’s consideration of implementing home

  confinement, including FCI Oakdale, FCI Danbury, and FCI Elkton. Id. at 1. The Attorney General

  has made the express finding that extant emergency conditions are materially affecting BOP

  functioning and has directed the BOP to immediately maximize transfers to home confinement for

  all eligible inmates at the specifically named facilities and other similarly situated facilities where

  COVID-19 is materially affecting operations. Id. The Memorandum further directs the BOP to

  review all inmates who have COVID-19 risk factors, as established by the Centers for Disease

  Control and Prevention (“CDC”), to determine their suitability for home confinement, while also

  emphasizing the importance of protecting the public from individuals who may pose a danger to

  society, and recognizing the need to avoid over-burdening law enforcement with “the

  indiscriminate release of thousands of prisoners onto the streets without any verification that those

  prisoners will follow the laws when they are released . . . and that they will not return to their old

  ways as soon as they walk through the prison gates.” Id. at 2-3. Finally, the Memorandum stresses

  the need for careful and individualized determinations regarding the propriety of releasing any

  given inmate to home confinement and discourages indiscriminate releases. Id. at 3.

     II.      LEGAL STANDARD

           “Generally, a court ‘may not modify a term of imprisonment once it has been imposed.’”

  United States v. Pubien, 805 F. App’x 727, 729 (11th Cir. 2020) (quoting 18 U.S.C. § 3582(c)).

           “The authority of a district court to modify an imprisonment sentence is narrowly
           limited by statute.” [United States v. Phillips, 597 F.3d 1190, 1194-95 (11th Cir.
           2010)]. Section 3582(c) of Title 18 provides that the district court may not modify
           a defendant’s imprisonment sentence except: (1) if the Bureau of Prisons files a
           motion and extraordinary or compelling circumstances warrant modification or if
           the defendant is at least 70 years old and has served 30 years in prison; (2) if the



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         modification is expressly permitted by statute or Federal Rule of Criminal
         Procedure 35; or (3) if the defendant’s original sentencing range has subsequently
         been lowered as a result of an amendment to the Guidelines by the Sentencing
         Commission. 18 U.S.C. § 3582(c).

  United States v. Shaw, 711 F. App’x 552, 554-55 (11th Cir. 2017); see also United States v.

  Celedon, 353 F. App’x 278, 280 (11th Cir. 2009); United States v. Diaz-Clark, 292 F.3d 1310,

  1316-18 (11th Cir. 2002). Thus, “[t]he law is clear that the district court has no inherent authority

  to modify a sentence; it may do so only when authorized by a statute or rule.” United States v.

  Rivas, 800 F. App’x 742, 745 (11th Cir. 2020) (quoting United States v. Puentes, 803 F.3d 597,

  605-06 (11th Cir. 2015)); see also United States v. Llewlyn, 879 F.3d 1291, 1296-97 (11th Cir.

  2018) (quoting Dillon v. United States, 560 U.S. 817, 827 (2010)).

         Defendant seeks relief specifically under the compassionate release provision,

  § 3582(c)(1)(A), which states:

         (c) Modification of an imposed term of imprisonment.— The court may not modify
         a term of imprisonment once it has been imposed except that—
         (1) in any case—
         (A) the court, upon motion of the Director of the Bureau of Prisons, or upon motion
         of the defendant after the defendant has fully exhausted all administrative rights to
         appeal a failure of the Bureau of Prisons to bring a motion on the defendant’s behalf
         or the lapse of 30 days from the receipt of such a request by the warden of the
         defendant’s facility, whichever is earlier, may reduce the term of imprisonment
         (and may impose a term of probation or supervised release with or without
         conditions that does not exceed the unserved portion of the original term of
         imprisonment), after considering the factors set forth in section 3553(a) [18 U.S.C.
         § 3553(a)] to the extent that they are applicable, if it finds that—
                 (i) extraordinary and compelling reasons warrant such a reduction . . . .
                 ....
         and that such a reduction is consistent with applicable policy statements issued by
         the Sentencing Commission . . . .

  18 U.S.C. § 3582(c)(1)(A)(i).

         As has been recognized by various courts, the Sentencing Commission has not

  implemented a new policy statement following the First Step Act. See United States v. Brown, 411

  F. Supp. 3d 446, 449 n.1 (S.D. Iowa 2019) (collecting cases)). Rather, the existing policy statement


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  still assumes compassionate release “may be granted only upon motion by the Director of the

  Bureau of Prisons.” § 1B1.13, cmt. n.4. As noted by one district judge in Brown, “[T]his leaves

  district courts in a conundrum. On the one hand, Congress unequivocally said it wishes to

  “[i]ncreas[e] the [u]se . . . of [c]ompassionate [r]elease” by allowing district courts to grant

  petitions “consistent with applicable policy statements” from the Sentencing Commission.

  § 3582(c)(1)(A) (emphasis added). On the other hand, the Commission—unable to take any official

  action—has not made the policy statement for the old regime applicable to the new one.” Id.

          While the Eleventh Circuit has yet to address the issue, four Circuits have recognized that

  the Commission lacks an applicable policy statement regarding when a judge can grant

  compassionate release, and that § 1B1.13 does not apply to cases in which a defendant files a

  motion for compassionate release. See United States v. Brooker, 976 F.3d 228, 234-36 (2d Cir.

  2020) (“[T]hough motions by the BOP still remain under the First Step Act, they are no longer

  exclusive, and we read the Guideline as surviving, but now applying only to those motions that the

  BOP has made.”); United States v. McCoy, 981 F.3d 271, 281-82 (4th Cir. 2020) (“By its plain

  terms, in short, § 1B1.13 does not apply to defendant-filed motions under § 3582(c)(1)(A).”);

  United States v. Jones, 980 F.3d 1098, 1108-09 (6th Cir. 2020) (“[T]he passage of the First Step

  Act rendered § 1B1.13 ‘inapplicable’ to cases where an imprisoned person files a motion for

  compassionate release.”); United States v. Gunn, 980 F.3d 1178, 1180-81 (7th Cir. 2020) (“[T]he

  Guidelines Manual lacks an ‘applicable’ policy statement covering prisoner-initiated applications

  for compassionate release. District judges must operate under the statutory criteria—‘extraordinary

  and compelling reasons’—subject to deferential appellate review.”). As such, the Court is not

  bound by § 1B1.13.

          Accordingly,




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            Section 3582 sets out the order in which this Court should analyze a criminal
            defendant’s entitlement to a sentencing reduction. First, when the defendant brings
            the motion himself, the Court must ascertain whether he “has fully exhausted all
            administrative rights to appeal a failure of the Bureau of Prisons to bring a motion
            on the defendant’s behalf or [whether there has been a] lapse of 30 days from the
            receipt of such a request by the warden of the defendant’s facility, whichever is
            earlier.” 18 U.S.C. § 3582(c)(1)(a). Second, the Court should “consider[] the factors
            set forth in section 3553(a) to the extent that they are applicable.” Id. Third, the
            Court should turn to the “extraordinary and compelling reasons” test . . . . And
            fourth, the Court should determine whether the defendant poses a “danger to the
            safety of any other person or to the community, as provided in 18 U.S.C. §
            3142(g).” Id.

  United States v. Stuyvesant, 454 F. Supp. 3d 1236, 1238 (S.D. Fla. 2020). Thus, in order to grant

  Defendant’s request pursuant to § 3582(c)(1)(A), the Court must: (1) find that Defendant has

  exhausted his administrative remedies with the BOP; (2) weigh the relevant § 3553(a) factors;

  (3) conclude that extraordinary and compelling reasons warrant compassionate release in this case;

  and (4) determine that Defendant is not a danger to the community. Moreover, Defendant bears

  the burden of establishing that compassionate release is warranted. See United States v. Hamilton,

  715 F.3d 328, 337 (11th Cir. 2013) (explaining that “a defendant, as the § 3582(c)(2) movant,

  bears the burden of establishing that” compassionate release is warranted, but that, even where a

  defendant satisfies this burden, “the district court still retains discretion to determine whether a

  sentence reduction is warranted”). With these standards in mind, the Court considers the instant

  Motion.

     III.      DISCUSSION

            A. Exhaustion of Administrative Remedies

            Because Defendant’s Motion fails on the first step of the § 3582 considerations, the Court

  need not address the remaining three inquiries under the § 3582 analysis. As the Government

  correctly notes in its Response, Defendant has failed to establish that he exhausted his

  administrative remedies with the BOP. In fact, Defendant requested consideration for home



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  confinement only on September 25, 2020, which request was denied on September 26, 2020. ECF

  No. [102] at 10.

          Although there is substantial disagreement among federal courts across the nation on

  whether § 3582(c)(1)(A)’s exhaustion requirement can be waived in exceptional circumstances, 2

  the Court declines to address the waiver issue under the facts of the instant case. “Even if some

  courts have recognized that waiver may be available . . . in exigent circumstances, no such case

  . . . has involved an inmate seeking compassionate relief without at least submitting a request . . .

  to the BOP prior to, or in conjunction with, his or her application to the court.” United States v.

  Vigna, 455 S. Supp. 3d 68, 74-75 (S.D.N.Y. 2020). 3 For this reason alone, Defendant’s Motion is

  due to be denied.


  2
   See United States v. Bess, 455 F. Supp. 3d 53, 58 (W.D.N.Y. 2020) (“[T]here is widespread disagreement
  about whether any exceptions may apply. Some courts have found that they independently may excuse a
  defendant’s failure to exhaust, while others have found that only the government may forfeit or waive the
  requirement.”); see also United States v. Cassidy, No. 17-CR-116S, 2020 WL 1969303, at *5-6 (W.D.N.Y.
  Apr. 24, 2020) (collecting cases); United States v. Otero, No. 17CR879-JAH, 2020 WL 1912216, at *4
  (S.D. Cal. Apr. 20, 2020) (collecting cases); United States v. Wright, No. 17 CR 695 (CM), 2020 WL
  1922371, at *1 (S.D.N.Y. Apr. 20, 2020) (collecting cases); United States v. Feiling, 453 F. Supp. 3d 832,
  838 (E.D. Va. 2020) (collecting cases); United States v. Epstein, No. CR 14-287 (FLW), 2020 WL 1808616,
  at *4 (D.N.J. Apr. 9, 2020) (collecting cases); United States v. Alam, 453 F. Supp. 3d 1041, 1044 (E.D.
  Mich. 2020) (collecting cases); United States v. Woodson, 452 F. Supp. 3d 31, 35 (S.D.N.Y. 2020)
  (collecting cases).
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    Indeed, courts across the country have repeatedly denied motions for compassionate release where the
  defendant has failed to also submit a request to the BOP. See United States v. Harris, No. 2:12-cr-140-FtM-
  29DNF, 2020 WL 1969951, at *1 (M.D. Fla. Apr. 24, 2020); United States v. Daniels, No. 4:08-CR-0464-
  SLB, 2020 WL 1938973, at *3 (N.D. Ala. Apr. 22, 2020); United States v. Hays, No. CR 18-00088-KD-N,
  2020 WL 1698778, at *1 (S.D. Ala. Apr. 7, 2020) (“Hays did not provide the Court with any evidence that
  she exhausted her administrative remedies with the BOP or that she made a request for compassionate
  release to the Warden before she filed her motion in this Court. Since Hays failed to comply with either of
  the two statutory requirements, the Court finds that she has not met the necessary prerequisites for
  consideration of her motion.”); United States v. Zywotko, ---F. Supp. 3d ----, 2020 WL 1492900, at *1-2
  (M.D. Fla. Mar. 27, 2020); United States v. Solis, No. 16-015, 2019 WL 2518452, at *2 (S.D. Ala. June 18,
  2019) (a defendant who has not “requested compassionate release from the BOP or otherwise exhausted
  his administrative remedies” is not entitled to a reduction of his term of imprisonment.); United States v.
  Bonventre, No. 10-CR-228-LTS, 2020 WL 1862638, at *3 (S.D.N.Y. Apr. 14, 2020) (“Here, the relief Mr.
  Bonventre seeks affords no respect whatsoever for the administrative process. He does not ask the Court to
  direct the BOP to reopen his claims (his claims were never opened). Instead, he asks the Court to bypass
  the administrative process and decide the merits of a claim that Congress clearly intended should start, in


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          B. Home Confinement

          Even if Defendant had met the exhaustion requirement, the Court does not have the

  authority to place him in home confinement. Defendant expressly requested home confinement in

  his administrative request and renews his request in the Motion. Once a sentence is imposed, the

  BOP designates the prisoner’s place of imprisonment. See 18 U.S.C. § 3621(b). Section

  3624(c)(2), Title 18 United States Code, addresses the BOP’s home confinement authority:

          Home confinement authority.—The authority under this subsection may be used to
          place a prisoner in home confinement for the shorter of 10 percent of the term of
          imprisonment of that prisoner or 6 months. The Bureau of Prisons shall, to the
          extent practicable, place prisoners with lower risk levels and lower needs on home
          confinement for the maximum amount of time permitted under this paragraph.

  18 U.S.C. § 3624(c)(2).

          Moreover, the CARES Act expanded the BOP’s authority under § 3624(c)(2):

          During the covered emergency period, if the Attorney General finds that emergency
          conditions will materially affect the functioning of the Bureau, the Director of the
          Bureau may lengthen the maximum amount of time for which the Director is
          authorized to place a prisoner in home confinement under the first sentence of
          section 3624(c)(2) of title 18, United States Code, as the Director determines
          appropriate.

  CARES Act § 12003(b)(2). “The Attorney General made those findings on April 3, 2020,

  conferring on the BOP the authority to expand its use of house confinement.” United States v.




  the first instance, with the BOP. Therefore, the Court concludes that Bowen does not support Defendant’s
  argument that his failure to exhaust should be excused based on the COVID-19 crisis alone.”); United States
  v. Engleson, No. 13-CR-340-3 (RJS), 2020 WL 1821797, at *1 (S.D.N.Y. Apr. 10, 2020) (“Defendant has
  not, to the Court’s knowledge, made a request to the warden of his facility to bring such a motion.
  Accordingly, the statutory requirement is not met, and the Court may not grant relief under this provision.”);
  Woodson, 452 F. Supp. 3d at 34-35 (concluding that because § 3582(c)(1)(A)’s requirement is statutory,
  not judicial, district courts may not “waive” exhaustion in the present context); United States v. Carver,
  451 F. Supp. 3d 1198, 1199 (E.D. Wash. 2020) (“The administrative exhaustion requirement admits of no
  exception. Defendant fails to indicate whether she has sought relief from the Bureau of Prisons, much less
  shown she has satisfied the statute’s exhaustion requirement. Nor does Defendant identify an alternative
  basis on which the Court could grant early release.” (citation omitted) (footnote omitted)).



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  Phillips, No. 6:16-CR-198-Orl-28GJK, 2020 WL 2219855, at *1 (M.D. Fla. May 7, 2020)

  (footnote omitted).

         Based on the clear statutory language of 18 U.S.C. § 3624(c)(2) and § 12003(b)(2) of the

  CARES Act, this Court has no authority to grant Defendant’s request for placement in home

  confinement. Rather, § 3624(c)(2) grants the BOP the exclusive authority to determine an inmate’s

  place of confinement. “The CARES Act did not remove the exclusive authority of the BOP to

  designate the place of an inmate’s confinement. ‘The Attorney General — and by delegation the

  BOP — has exclusive authority and discretion to designate the place of an inmate’s confinement.’”

  Phillips, 2020 WL 2219855, at *1 (quoting Burg v. Nicklin, No. EP-19-CV-24-FM, 2019 WL

  369153, at *3 (W.D. Tex. Jan. 29, 2019)) (emphasis in original); see also United States v. Daniels,

  No. 4:08-CR-0464-SLB, 2020 WL 1938973, at *1 (N.D. Ala. Apr. 22, 2020) (“The BOP

  designates the place of defendant’s imprisonment. The Court does not have authority to dictate

  placements to the BOP. While the CARES Act gives the BOP broad discretion to expand the use

  of home confinement during the COVID-19 pandemic, the Court lacks jurisdiction to order home

  detention under this provision.”) (citing 18 U.S.C. § 3621(b)) (emphasis in original); United States

  v. Cosby, 180 F. App’x 13, 13 (10th Cir. 2006); United States v. Engleson, No. 13-CR-340-3(RJS),

  2020 WL 1821797, at *1 (S.D.N.Y. Apr. 10, 2020) (while the court can make a recommendation,

  the BOP retains the ultimate decision of whether to release an inmate to home confinement)

  (quoting United States v. Read-Forbes, 454 F. Supp. 3d 1113, 1118 (D. Kan. 2020)).

         It is important to understand that a request for home confinement under the CARES
         Act is different than a reduction-in-sentence (RIS) request based upon
         compassionate release. The BOP is utilizing its authority under 18 U.S.C.
         [§ 3624(c)(2)] . . . — not the compassionate release provision of 18 U.S.C.
         § 3582(c) — to effectuate the Attorney General’s directive to the BOP regarding
         home confinement in connection with the CARES Act. [This statute does] not
         authorize a federal court to order the BOP to release a prisoner. See United States
         v. Calderon, No. 19-11445, 2020 WL 883084, at *1 (11th Cir. Feb. 24, 2020)



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          (explaining that under § 60541(g)(1)(A) the Attorney General “may” release
          eligible elderly offenders, and district court was without jurisdiction to grant relief);
          see also United States v. Lovelace, No. 12-402, 2014 WL 4446176, at *2 (N.D. Ga.
          Sept. [9,] 2014) (“[T]he Court has no authority to grant Defendant’s request and
          order the Bureau of Prisons to release Defendant to a halfway house.” (citing 18
          U.S.C. §§ 3621(b) & (b)(5))).

   United States v. Collins, No. CR 616-014, 2020 WL 2529487, at *1 (S.D. Ga. May 18, 2020)

   (footnote omitted); United States v. Smith, No. 8:17-CR-412-T-36AAS, 2020 WL 2512883, at *3

   (M.D. Fla. May 15, 2020) (“[U]nder the CARES Act, the determination of whether inmates qualify

   for home confinement rests with the BOP Director, and the Court lacks authority to direct the BOP

   to release the defendant to home confinement[.]” (citing United States v. Robles, CR 3:17-343,

   2020 WL 2306847, at *5 (M.D. Pa. May 8, 2020))).

          Indeed, the CARES Act “has nothing to say about the district court’s authority to order

   home confinement during the covered emergency period.” Daniels, 2020 WL 1938973, at *2.

   Instead, “under the CARES Act, the BOP, through the Attorney General’s delegation, retains the

   ‘exclusive authority and sole discretion to designate the place of an inmate’s confinement,’

   including home confinement.” Id.; see also de Jesus v. Woods, No. 2:19-cv-121-WHA, 2019 WL

   3326199, *4 (M.D. Ala. June 21, 2019) (BOP has the “exclusive authority and sole discretion” to

   place inmates in home confinement (quoting Deffenbaugh v. Sullivan, No. 5:19-HC-2049-FL,

   2019 WL 1779573, *1 (E.D.N.C. Apr. 23, 2019))); United States v. Campbell, No. 3:12-CR-24

   (CAR), 2014 WL 12911957, *1 (M.D. Ga. Sept. 17, 2014) (“Defendant’s request to be placed on

   home confinement lies within the sole discretion of the BOP, and any order from this Court would

   merely be a recommendation to the BOP to consider placing Defendant in home confinement.”

   (citing 18 U.S.C. § 3621(b))). Because the Court lacks authority to grant the requested relief under

   18 U.S.C. § 3624(c)(2) and § 12003(b)(2) of the CARES Act, Defendant’s request for home

   confinement must be denied.



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      IV.       CONCLUSION

            Accordingly, it is ORDERED AND ADJUDGED that the Defendant’s Motion, ECF No.

   [102], is DENIED WITHOUT PREJUDICE for failure to exhaust his administrative remedies.

            DONE AND ORDERED in Chambers at Miami, Florida, on January 11, 2021.




                                                  _________________________________
                                                  BETH BLOOM
                                                  UNITED STATES DISTRICT JUDGE
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